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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        Case No. 20-21553-Civ-COOKE/GOODMAN


  PATRICK GAYLE, et al.,

                Petitioners,

  vs.

  MICHAEL W. MEADE, et al.,

              Respondents.
  ______________________________/
                                ORDER ON PETITIONERS’
                               MOTION FOR CLARIFICATION

         THIS MATTER is before the Court on the Petitioners’ Motion for Clarification (the

  “Motion”). (ECF No. 77). The Court, having reviewed the Motion and being fully advised

  in the premises, hereby ORDERS and ADJUDGES as follows:


         Petitioners’ Motion for Clarification (ECF No. 77) is hereby GRANTED in part and

  DENIED in part. The Court’s Order dated April 30, 2020, (ECF No. 76), is clarified to

  include all fifty-eight (58) named Petitioners in the instant action. (See ECF No. 65 (granting

  Petitioners’ Motion to Add Named Petitioners)).

         The Court further clarifies its April 30, 2020, Order to permit Immigration and

  Customs Enforcement (“ICE”) to transfer detainees from the three facilities at issue.

  However, ICE may only transfer detainees after first evaluating each detainee and making a

  determination as to the detainees’ eligibility for release pursuant to ICE’s COVID-19 April

  10, 2020 Pandemic Response Requirements.



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         DONE and ORDERED in chambers, at Miami, Florida, this 2nd day of May 2020.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record




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